                  IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                         Civil No. 1:20-cv-00066-WGY

CARYN DEVINS STRICKLAND,                      )
                                             )
                           Plaintiff,         )
                                             )
v.                                            )
                                             )
UNITED STATES, et al.,                        )
                                             )
                           Defendants.       )

                           MOTION FOR CLARIFICATION

      In the Court’s July 25, 2023 “Memorandum and Order” (Doc. 258), this court ruled

that Plaintiff “did not provide any plausible evidence of discriminatory intent on behalf of

any supervisory defendant EXCEPT Anthony Martinez (“Martinez”) in his individual

capacity and his official capacity as Federal Public Defender for the Western District of

North Carolina1.” (Doc. 258, p. 3) (emphasis added). Martinez, in his individual capacity,

seeks clarification on this ruling.




1
  Mr. Martinez retired from his position as the Federal Defender effective March 25, 2022.
Accordingly, the current Federal Defender, John G. Baker, was substituted for the Official
Capacity claims. See Strickland, 32 F.4th at 320, FN 2 (“Defendant Martinez has … been
replaced by John G. Baker as the Federal Public Defender for the Western District of North
Carolina. Consequently, Baker now appears in his official capacity only and Martinez now
appears in his individual capacity only.”) Of course, Martinez does not dispute that he
remains a fact witness in the case, though no longer a party to the case.


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      Specifically, this court dismissed all claims against Martinez in his individual

capacity in its ruling on Defendants’ Motion to Dismiss pursuant to Rule 12(b)(6) of the

Federal Rules of Civil Procedure on December 30, 2020. In a published opinion, the United

States Court of Appeals for the Fourth Circuit affirmed as to the individual capacity claims

against Martinez (and others), though on alternate grounds, on April 26, 2022. See

Strickland v. United States et. al. 32 F.4th 311, 320; 377 (2022). The case was then

remanded as to claims unrelated to the dismissed individual capacity claims against

Martinez and the other individual defendants.

      These decisions constitute the ‘law of the case’, such that it would be improper to

revive the individual capacity claims against Martinez, particularly at this very late stage.

The Supreme Court defines the law of the case as a rule “posit[ing] that when a court

decides upon a rule of law, that decision should continue to govern the same issues in

subsequent stages in the same case.” Christianson v. Colt Indus. Operating Corp., 486 U.S.

800, 816, 108 S.Ct. 2166, 100 L.Ed.2d 811 (1988) (citing Arizona v. California, 460 U.S.

605, 618, 103 S.Ct. 1382, 75 L.Ed.2d 318 (1983), and citing 1B JAMES WM. MOORE

ET AL., MOORE'S FEDERAL PRACTICE ¶ 0.404[1], p. 118 (1984)).

      According to the Supreme Court, “This rule of practice promotes the finality and

efficiency of the judicial process by ‘protecting against the agitation of settled issues.” Id.

486 U.S. 800, 816, 108 S.Ct. 2166, 100 L.Ed.2d 811 (1988). Here, the Fourth Circuit

unequivocally issued a final ruling that the individual capacity claims against Martinez and


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the other Defendants who were sued in their individual capacities were dismissed. That

ruling is the law of this case, and the “settled issues” should not now be “agitated”.

      Moreover, Martinez did not have the benefit of representation as to individual

capacity claims at any point following his dismissal, including for the summary judgment

hearing, during the summary judgment briefing, or during any of the discovery period in

this case, nor did he have any reason to continue to retain counsel following his dismissal.2

In other words, Martinez was not able to serve written discovery, to depose witnesses, or

otherwise engage in the discovery process, nor did he have any reason to or ability to

participate in discovery once he was dismissed from the case and his counsel’s

representation was properly “Terminated” by the court on June 21, 2022 shortly after the

remand. To now force Martinez to defend himself (and protect his own personal assets) at

the quickly approaching trial would result in significant, if not potentially devastating,

prejudice against him.

      Finally, all of the conduct alleged against Martinez was made in Martinez’s official

capacity as the Federal Defender, not in his individual capacity.

      For these reasons, Martinez requests that the Court clarify its Order as to the

individual capacity claims against him, and that the Court recognize the law of the case;



2
 The undersigned attended Martinez’s deposition taken by Plaintiff as his personal counsel
on April 30, 2023, the final business day of discovery in this case, but did not otherwise
participate in any discovery or proceeding since the individual claims against him were
dismissed and he was no longer a party.
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namely, that the individual capacity claims against Martinez were dismissed on December

30, 2020, that the dismissal was affirmed by the United States Court for the 4 th Circuit on

April 26, 2022, and that no individual claims against Martinez are or can be before this

court.

         Alternatively, if the court did intend to revive the dismissed individual capacity

claims against Martinez in its July 25, 2023 Order, Martinez respectfully requests that (1)

the summary judgment ruling and any other ruling in the case that could relate to him be

vacated; (2) that the discovery process reconvene to permit Martinez to engage in all

discovery to the same extent the parties engaged in it under the same timeline that applied

to the parties; and (3) that Martinez be permitted to defend himself as otherwise permitted

by the Federal and Appellate Rules of Civil Procedure, and any other applicable law, as to

the dismissed individual capacity claims.

         Respectfully Submitted this 7th day of August, 2023.

                                               /s/Shannon Sumerell Spainhour
                                               N.C. State Bar No. 28108
                                               CONSTANGY, BROOKS, SMITH &
                                               PROPHETE LLP
                                               84 Peachtree Road, Suite 230
                                               Asheville, NC 28803
                                               Telephone: 828-575-5818
                                               Facsimile: 828-277-5138
                                               Email: mspainhour@constangy.com

                                               Attorney for Defendant Anthony Martinez
                                               in his individual capacity only



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                             CERTIFICATE OF SERVICE
I hereby certify that on the 7th day of August, 2023, I have electronically filed the
foregoing with the Clerk of Court using the CM/ECF system, which will then send

a notification of such filing (NEF) to the following:

      Joshua M. Kolsky at Joshua.Kolsky@usdoj.gov

      Rachael Westmoreland at Rachael.Westmoreland@usdoj.gov

      Madeline M. McMahon at madeline.m.mcmahon@usdoj.gov

      Danielle Wolfson Young at danielle.young2@usdoj.gov

      Cooper Strickland at cooper.strickland@gmail.com

      Caryn Devins Strickland at caryn.strickland@outlook.com


                                               /s/Shannon Sumerell Spainhour
                                               N.C. State Bar No. 28108
                                               CONSTANGY, BROOKS, SMITH &
                                               PROPHETE LLP
                                               84 Peachtree Road, Suite 230
                                               Asheville, NC 28803
                                               Telephone: 828-575-5818
                                               Facsimile: 828-277-5138
                                               Email: mspainhour@constangy.com

                                               Attorney for Defendant Anthony Martinez
                                               in his individual capacity only




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